          Case 1:20-cv-01315-GHW Document 39 Filed 11/03/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
JOSSY JOSEPH,

                                   Plaintiff,                              20 CIVIL 1315 (GHW)

                 -against-                                                    JUDGMENT
KENNETH T. (KEN) CUCCINELLI, Acting
Director, U. S. Citizenship and Immigration Services,
WILLIAM BARR, Attorney General, U. S.
Department of Justice, CHRISTOPHER A. WRAY,
Director of Federal Bureau of Investigation, CHAD
F. WOLF, Acting Secretary, U. S. Department of
Homeland Security Office of the General Counsel,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated November 2, 2021, Defendants’

motion to dismiss the amended petition is GRANTED. Judgment is entered in favor of Defendants;

accordingly, this case is closed.


Dated: New York, New York
       November 3, 2021




                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
